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Northern                   Georgia

                                                    7




                             KAir Enterprises LLC




                                 83 - 2584740




                            1659 E. Clifton Road NE                  204 Wilton Dr




                             Atlanta                    GA   30307    Decatur          GA    30030




                             DeKalb
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                                 Document     Page 2 of 8
 KAir Enterprises LLC


                        X




                        X




                        X
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  KAir Enterprises LLC


                         X




                         ✘          see attached list




                         X




                         ✘
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Debtor
             fir Enterprises LLC                                                     Case number



 ~e. Signature of attorney                                                                                  ~ ~,. ~7
                                                     ~. •                      .,.            Date                          x-02.3
                                     Sign ure of attorney for debto                                         MM   I DD   YYYY


                                      ohn W. Mills
                                     rrimea name
                                     JONES WALKER

                                            Peachtree Road NE, Suite 1400

                                     Atlanta                                                         GA             30326
                                     City                                                           State           ZIP Code
                                     404-870-7500                                                    jmills@joneswalker.com
                                     Contact phone                                                  Email address


                                     509705                                                         GA
                                     Bar number                                                     State




  Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 5
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10. Affiliated Debtors of KAIR Enterprises LLC

   A. MNBS Associates, LLC; Affiliate Corporation of Debtor; Northern District of Georgia;
   Filed December 27, 2023.

   B. ManaAir, LLC; Affiliate Corporation of Debtor; Northern District of Georgia; Filed
   December 27, 2023.

   C. ExpressJet Airlines, LLC; Affiliate Corporation of Debtor; District of Delaware; Filed
   August 23, 2022.
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 Skywest Leasing, Inc.
     444 S River Rd
St. George, Utah, 84790
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                              United States Bankruptcy Court
                              Northern District of Georgia




In re: KAir Enterprises LLC                                     Case No.

                                                                Chapter    7
                    Debtor(s)




                              Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




             12/27/2023                          /s/ Subodh Karnik
Date:
                                                Signature of Individual signing on behalf of debtor

                                                President and CEO
                                                Position or relationship to debtor
